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                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

  AMERICAN CLINICAL                       §
  LABORATORY ASSOCIATION,                 §
  ET AL.                                  §
                                          §
  v.                                      §   CASE NO. 4:24-CV-479-SDJ
                                          §
  U.S. FOOD AND DRUG                      §
  ADMINISTRATION, ET AL.                  §
                                          §

  ASSOCIATION FOR                         §
  MOLECULAR PATHOLOGY,                    §
  ET AL.                                  §
                                          §
  v.                                      §   CASE NO. 4:24-CV-824-SDJ
                                          §
  U.S. FOOD AND DRUG                      §
  ADMINISTRATION,                         §
  ET AL.                                  §

                                FINAL JUDGMENT

       For the reasons set forth in the Court’s Memorandum Opinion and Order on

 this date, (Dkt. #93), it is CONSIDERED, ORDERED, and ADJUDGED that

 Plaintiffs’ Motions for Summary Judgment, (Dkt. #20, #27), are GRANTED.

 Defendants’ Cross-Motion for Summary Judgment, (Dkt. #54), is DENIED. The

 Court thus enters Final Judgment in favor of Plaintiffs the American Clinical

 Laboratory   Association     (“ACLA”),   HealthTrackRX      Indiana,   Inc.,   and

 HealthTrackRX, Inc. (collectively, “HealthTrackRX”), the Association for Molecular

 Pathology (“AMP”) and Michael Laposata, M.D., and against Defendants, United

 States Department of Health and Human Services, the Food and Drug



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 Administration, Robert F. Kennedy, Jr., and Sara Brenner, M.D. in their official

 capacities.

       It is further ORDERED, ADJUDGED, and DECREED that:

    1. Final Judgment is entered in favor of Plaintiffs ACLA and HealthTrackRX on

       Count I in the Complaint in Cause Number 4:24-cv-479. (Dkt. #1 at ¶¶ 131–

       137). Final Judgment is also entered for Plaintiffs AMP and Dr. Laposata on

       Count I in the Complaint in Cause Number 4:24-cv-824 (Dkt. #1 at ¶¶ 122–

       152).

    2. The Court does not reach Plaintiffs ACLA and HealthTrackRX’s Count II in

       the Complaint in Cause Number 4:24-cv-479 (Dkt. #1 at ¶¶ 138–142). Nor does

       the Court reach Plaintiffs AMP and Dr. Laposata’s Count II in the Complaint

       in Cause Number 4:24-cv-824 (Dkt. #1 at ¶¶ 153–159).
     .
    3. The Court VACATES and SETS ASIDE, in its entirety, the FDA’s Final Rule

       titled Medical Devices; Laboratory Developed Tests, 89 Fed. Reg. 37,286 (May

       6, 2024) (to be codified at 21 C.F.R. § 809). The Court remands this matter to

       the Secretary of Health and Human Services for further consideration.

    4. The Court DENIES all other requested relief. Any pending motions are

       DENIED as MOOT.

    5. The Clerk is directed to close these consolidated actions.
        So ORDERED and SIGNED this 31st day of March, 2025.




                                                   ____________________________________
                                                   SEAN D. JORDAN
                                                   UNITED STATES DISTRICT JUDGE
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